Case 6:10-cv-01560-ACC-GJK Document1 Filed 10/19/10 Page 1 of 9 PagelD 1

FILED
UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA 2010 OCT 19 PH 2: Sy
ORLANDO DIVISION .
US DISTEICT COURT
ANN MARIE COOPER, CASE NO.: BOR MONE BL

'0-Cv-1Sb0~- gel-2)-
Plaintiff, é 960- ARL~ 3d.— ET

v.
STETSON UNIVERSITY, INC.,

Defendant.
/

 

COMPLAINT AND DEMAND FOR JURY TRIAL

Plaintiff, Ann Marie Cooper, files this her complaint against Defendant, Stetson

University, Inc., for age discrimination and states that:
COUNT I.

1. This is an action at law under the Age Discrimination and Employment
Act of 1967 (“ADEA”), as amended 29 U.S.C. § 621 et seq.

2. This Court has jurisdiction pursuant to 28 U.S.C. § 1331 and 29 U.S.C.
§ 626(e). Injunctive and declaratory relief and damages are sought pursuant to 29 U.S.C.
§ 620(b).

3. Defendant is a corporation organized and existing under the laws of the
State of Florida and has its principal place of business in Volusia County, Florida. Venue
is proper in this district and in this division since the transactions and occurrences
complained of occurred in Volusia County, Florida.

4. The Plaintiff was hired as a Career Development Coordinator, for the

Career Management Office, School of Business Administration in March 2001.
‘ Case 6:10-cv-01560-ACC-GJK Document1 Filed 10/19/10 Page 2 of 9 PagelD 2

5.

In September 2007 the Career Management Office in the School of

Business Administration closed. The Plaintiff was placed in the position of an Assistant

Director in the University’s Career Service Office. In an e-mail from Dr. Ted Surynt,

Associate Dean, School of Business Administration, who was the Plaintiff's supervisor,

he advised the faculty and staff of the closing of the Career Management Office, and

commended the Plaintiff for her knowledge, experience, professionalism and

accomplishments. Dr. Surynt wrote:

6.

“On a personal note, I would like to thank Ann Marie for
all her hard work over the last 8 years. She has run our
career management office for all this time virtually single
handed. Although she reported to me, I gave her almost

no help and relied on her knowledge, experience and
professionalism to get the job done. Our placement
numbers over the last few years have always been in the
high 90 percent range with last year’s number coming in

at 100%. Results can’t be any better than that and are a
testimonial to the work and dedication that Ann Marie
brought and continues to bring to her position. We all wish
her well and look forward to working with her in creating

a university career services office that we can all be proud of.”

The Plaintiff's evaluations each and every year that she was employed

with Defendant were noted overall as either outstanding or exceeding expectations.

7.

The Plaintiff never once received any type of oral or written warning,

reprimand, or corrective counseling regarding performance or discipline.

8.

following:

The Plaintiff's accomplishments include, but are not limited to, the

Designed and implemented the Career Management website and other

online support services for students and alumni.

Created fund raising programs.
Case 6:10-cv-01560-ACC-GJK Document1 Filed 10/19/10 Page 3 of 9 PagelD 3

e Supervised, hired and trained part-time contract employees and student

assistants.

e Developed a Student Manual (2006-2007).

° Marketed, developed and executed support services and programs which

include: Annual Fall and Spring Career Festivals, Career Development

Certification, Professional Etiquette Seminars, Career Boot Camps, Industry

Panels, Business Industry Speaker Series, Graduate Leadership Symposium, and

Annual Career Fairs Florida MBA and Graduate Business Consortium.

e The Plaintiff's placement numbers for the years 2004, 2005 and 2006 were

in the high 90% range, 2007 placement being at 100%.

9. On September 28, 2007 in a faculty meeting the Plaintiff was given a
plaque, acknowledging leadership, effort, and faithful service in developing and
advancing the Career Management Office as Director. This was presented in
appreciation and thanks by the School of Business Administration.

10. In October 2007 the Plaintiff submitted her resume and letters of reference
to the HR office of Defendant to be considered for the position of Director, University
Career Services Office.

11. The Plaintiff's date of birth is January 16, 1961. At the time of her
application for the position of Director she was 46 years of age.

12. The Plaintiff was qualified for the position of Director of the University
Career Services Office.

13. In May 2008 the Defendant selected an individual who was 30 years of
Case 6:10-cv-01560-ACC-GJK Document 1 Filed 10/19/10 Page 4 of 9 PagelD 4

age at the time of placement to the Director’s position in the University Career Services
Office.

14. The hiring by Defendant of an individual substantially younger than the
Plaintiff to the Director’s position in the University Career Services Office despite
Plaintiff's superior qualifications and experience was the result of age discrimination by
Defendant.

15. In addition to the hiring of a substantially younger individual than the
Plaintiff who had lesser qualifications and experience the Defendant conducted itself with
obvious favoritism when Defendant allowed the individual who ultimately was hired to
be part of the Search Committee from September 2007 to April 2008. This allowed the
ultimate hire to be involved in pre-screening, interviewing and assisting Defendant in
weeding out other applicants who ultimately would be contenders with the hire for the
position of Director in the University Career Services Office. The ultimate hire had prior
knowledge of the questions, format and responses by being able to participate as a
member of the Search Committee. The ultimate hire had time to prepare her answers,
while other applicants did not. After sitting through all interviews the ultimate hire was
then give the green light to apply and interview for the position.

16. —_ In addition to violating federal law in the hire of the Director of the
University Career Services Office position the Defendant has also shown a pattern and
practice of hiring and promoting individuals less than 40 years old to the Director’s
position in the University Career Services Office. The past 10 year history of hires of
Director and Interim Director for this position and the ages of the hires are as follows:

e 2001 - Director, estimated 30 years of age.
Case 6:10-cv-01560-ACC-GJK Document1 Filed 10/19/10 Page 5 of 9 PagelD 5

° 2002 ~ Interim Director, estimated 25 years of age.
e 2003 — Director, estimated 48 years of age.
e 2003 — Interim Director, estimated 30 years of age.
e 2004 — Director, estimated 28 years of age.
° 2005 — Director, estimated 30 years of age.
e 2007 — Interim Director, estimated 26 years of age.
e 2008 — Director, estimated 30 years of age.

These hires of those less than 40 years of age, with one exception, were
accomplished despite the fact many candidates, who were over 40 years of age, had better
qualifications and experience. In fact, the Defendant passed over in this time period four
individuals who were over 40 years of age who had Doctorate Degrees or Masters of Arts
Degrees.

17. As a result of this discrimination and the failure to promote, the Plaintiff
has suffered economic losses and benefits.

18. The Plaintiff seeks liquidated damages equivalent to economic losses as
authorized under the ADEA due to the willful nature of Defendant’s conduct.

19. Plaintiff timely filed a charge of discrimination with the Equal
Employment Opportunity Commission which issued a Notice of Right to Sue which was
received by the Plaintiff on or about July 25, 2010. Attached as Exhibit “A” is a copy of
this Notice.

WHEREFORE, Plaintiff requests this Court enter a judgment declaring that the
acts and practices complained of herein are in violation of the ADEA and enjoin and

permanently restrain these violations; direct Defendant to take such affirmative steps as
Case 6:10-cv-01560-ACC-GJK Document1 Filed 10/19/10 Page 6 of 9 PagelD 6

are necessary to ensure that the effects of these unlawful employment practices do not
continue to effect Plaintiffs employment opportunities; direct Defendant to reinstate
Plaintiff placing her in the position she would have occupied but for Defendant's
discriminatory treatment and making her whole for all earnings she would have received
but for Defendant's discriminatory treatment including, but not limited to, wages,
bonuses, and other lost benefits; direct Defendant to pay Plaintiff an additional amount as
liquidated damages as provided for in Section 7b of the ADEA, 29 U.S.C. Section 626b;
award Plaintiff front pay in the event reinstatement is impractical or impossible; award
the Plaintiff the costs of this action together with reasonable attorney's fees, as provided
by Section 7b of the ADEA, 29 U.S.C. 626b; granting such other and further relief as the
Court deems necessary and proper.
COUNT II.

20. This is an action at law under the Age Discrimination and Employment
Act of 1967 “ADEA” (as amended 29 U.S.C. § 621 et seq.)

21. This Court has jurisdiction pursuant to 28 U.S.C. § 1331 and 28 U.S.C.
§ 626(e). Injunctive and declaratory relief and damages are sought pursuant to 29 U.S.C.
§ 620(b).

22. Plaintiff realleges paragraphs 3 through 9 of Count I.

23. On July 14, 2008 the Plaintiff was terminated by the Defendant under
false and pretextual reasons. Plaintiff was 47 years of age at the time of termination.

24, Despite the Plaintiff's qualifications and performance evaluations which
were always outstanding or exceeding expectations; having received no prior oral or

written warnings, reprimands or corrective counseling regarding discipline or
Case 6:10-cv-01560-ACC-GJK Document1 Filed 10/19/10 Page 7 of 9 PagelD 7

performance; having received a letter of commendation, and plaque of recognition of
accomplishments ten (10) months earlier; and despite the accomplishments as listed in
paragraph 8 above, the Defendant terminated the Plaintiff, for reasons expressed by the
words of the Associate Dean of Students, “You do not meet the qualifications needed to
fulfill the responsibilities of this position.” The Plaintiff was replaced by a substantially
younger individual who was less qualified by experience, education and skills. In fact,
based on information and belief, many of the Plaintiff's job duties (Employer Outreach,
on campus interviews, and planning and executing the Annual Career Festivals) were
assumed by this substantially younger individual who was hired by the Plaintiff in 2006
as a part-time hourly contract worker assisting the Plaintiff with clerical duties.

25. Asaresult of this discriminatory termination the Plaintiff has suffered
economic losses and benefits as a result of the termination.

26. The Plaintiff further seeks liquidated damages as authorized under
the ADEA due to the willful nature of Defendant’s conduct.

27. _‘ Plaintiff timely filed a charge of discrimination with the Equal
Employment Opportunity Commission which issued a Notice of Right to Sue which was
received by the Plaintiff on or about July 25, 2010. Attached as Exhibit “A” is a copy of
this Notice.

WHEREFORE, Plaintiff requests this Court enter a judgment declaring that the
acts and practices complained of herein are in violation of the ADEA and enjoin and
permanently restrain these violations; direct Defendant to take such affirmative steps as
are necessary to ensure that the effects of these unlawful employment practices do not

continue to effect Plaintiff's employment opportunities; direct Defendant to reinstate
Case 6:10-cv-01560-ACC-GJK Document1 Filed 10/19/10 Page 8 of 9 PagelD 8

Plaintiff placing her in the position she would have occupied but for Defendant's
discriminatory treatment and making her whole for all earnings she would have received
but for Defendant's discriminatory treatment including, but not limited to, wages,
bonuses, and other lost benefits; direct Defendant to pay Plaintiff an additional amount as
liquidated damages as provided for in Section 7b of the ADEA, 29 U.S.C. Section 626b;
award Plaintiff front pay in the event reinstatement is impractical or impossible; award
the Plaintiff the costs of this action together with reasonable attorney's fees, as provided
by Section 7b of the ADEA, 29 U.S.C. 626b; granting such other and further relief as the
Court deems necessary and proper.

PLAINTIFF DEMANDS A TRIAL BY JURY.

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Edward R. Gay, Esquire 7 Ann Marie Cooper

Fla. Bar No. 342084 Plaintiff

1516 E. Concord Street

Orlando, Florida 32803 SAA ee onert42
Sons, Comm# DD0847

(407) 898-1871 ES: Expires 1/2/2013

(407) 897-7042 Esra Notary Ason., nc

TRIAL COUNSEL FOR PLAINTIFF

STATE OF FLORIDA

COUNTY OF ORANGE

BEFORE ME, the undersigned officer, duly authorized to administer oaths and
take acknowledgments, personally appeared ANN MARIE COOPER,

who is personally known;
—_ who is not known to me but who produced a_ (704 £/ 0 263¢/576-0

a as identification;
who did take an oath;
who did not take an oath;
Case 6:10-cv-01560-ACC-GJK Document1 Filed 10/19/10 Page 9 of 9 PagelD 9

who after being sworn by me, deposes and says that she has read the contents and they
are true and correct.

SWORN TO AND SUBSCRIBED this “GZ day of October, 2010.

Lats

My Commission Expires
